 8:08-cr-00377-LSC-FG3         Doc # 70    Filed: 09/04/09    Page 1 of 1 - Page ID # 231




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )
        vs.                                   )                 8:08CR377
                                              )
THOMAS E. BRYANT and                          )                   ORDER
JONATHAN M. BALES,                            )
                                              )
                      Defendants.             )


       This matter is before the court on the unopposed motion of Jonathan M. Bales to
continue trial (Doc. 69). A continuance is requested because law enforcement failed to
timely provide reports and other items to the U.S. Attorney's Office which, in turn, was
unable to timely provide discovery to the defendant. The court finds that the trial must be
continued.

        IT IS ORDERED that the motion is granted, as follows:

        1.    The jury trial now set for September 15, 2009 is continued to November 3,
2009.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between September 15, 2009 and November 3, 2009,
shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act because counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B)(iv).

        DATED September 4, 2009.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
